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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON

AT SEATTLE
UNITED STATES OF AMERICA, ) CASE NO. MJ20-608
Plaintiff,
V. DETENTION ORDER
ANNALISE SHARMEL MCGHEE, )
Defendant. )

 

Offenses charged: Supervised Release Violation
Date of Detention Hearing: September 25, 2020.

The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and
based upon the factual findings and statement of reasons for detention hereafter set forth,
finds that no condition or combination of conditions which defendant can meet will
reasonably assure the appearance of defendant as required and the safety of other persons and
the community.

FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

 

(1) There is a presumption that a defendant charged with a violation of supervised

release will be detained, pending resolution. Defendant has not effectively

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rebutted that presumption.

(2) She left the district of supervision without authority and has been absent for an
extended period of time during which her whereabouts were unknown.

(3) Her medical condition warrants special care for her well-being while she is in
custody; and the court has directed the U.S. Marshal and the U. S. Probation
Office to convey information as to defendant's condition to the Bureau of
Prisons. But her condition does not entitle her to release.

(4) The district with jurisdiction in defendant's case has more complete
information about her, and has the authority to decide whether to continue her
detention or to release her on appropriate conditions. This order is without
prejudice to defendant's opportunity to apply to that court for her release.

It is therefore ORDERED:

1. Defendant shall be detained pending trial and committed to the custody of the
Attorney General for confinement in a correction facility separate, to the extent
practicable, from persons awaiting or serving sentences or being held in custody
pending appeal;

2. Defendant shall be afforded reasonable opportunity for private consultation with
counsel;

3. On order of the United States or on request of an attorney for the Government, the
person in charge of the corrections facility in which defendant is confined shall deliver
the defendant to a United States Marshal for the purpose of an appearance in

connection with a court proceeding; and

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4. The Clerk shall direct copies of this Order to counsel for the United States, to counsel
for the defendant, to the United States Marshal, and to the United States Pretrial
Services Officer.

DATED this 2nd day of October, 2020.

VM huey

JOLIN Ex WEINBERG
United States Magistrate Judge

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